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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Criminal Action No. 23-cr-00370-NYW-2

UNITED STATES OF AMERICA,

      Plaintiff,

v.

2.    JAKI RAVION JOSEPH MARTIN-BIRCH,

      Defendant.

______________________________________________________________________

                         ORDER OF DETENTION
______________________________________________________________________

      THIS MATTER came before me for a detention hearing on August 25, 2023. The

government requested detention in this case. The defendant did not contest the request

for detention. I have considered the Pretrial Services report and the entire docket.

      In order to sustain a motion for detention, the government must establish that there

is no condition or combination of conditions that could be imposed in connection with

pretrial release to reasonably assure (a) the appearance of the defendant as required or

(b) the safety of any other person or the community. 18 U.S.C. ' 3142(b). The former

element must be established by a preponderance of the evidence, and the latter requires

proof by clear and convincing evidence.

      If there is probable cause to believe that the defendant committed an offense

proscribed by 18 U.S.C. § 3142(e)(3), a rebuttable presumption arises that no condition

or combination of conditions will reasonably assure the appearance of the person as

required and the safety of the community.        The defendant has been charged by
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Indictment with use of a firearm in furtherance of crime of violence and aiding and

abetting, in violation of 18 U.S.C. §§ 924(c)(1)(A)(ii) and (2). As a result, the presumption

applies. 18 U.S.C. § 3142(e)(3)(B).

       The presumption favoring detention can be rebutted; however, even if rebutted,

the congressionally mandated presumption remains a factor to consider in assessing

whether there is any condition or combination of conditions that will reasonably assure

the appearance of the defendant as required and the safety of the community. See

United States v. Stricklin, 932 F.2d 1353, 1355 (10th Cir. 1991).

       The Bail Reform Act establishes the following factors to be considered in

determining whether there are conditions of release that will reasonably assure the

appearance of the defendant and the safety of the community:

              (1) The nature and circumstances of the offense charged,
              including whether the offense is a crime of violence, a violation
              of section 1591, a Federal crime of terrorism, or involves a
              minor victim or a controlled substance, firearm, explosive, or
              destructive device;

              (2)   the weight of the evidence against the person;

              (3)   the history and characteristics of the person includingB

                     (A)     the person=s character, physical and
                     mental condition, family ties, employment,
                     financial resources, length of residence in the
                     community, community ties, past conduct,
                     history relating to drug and alcohol abuse,
                     criminal history, and record concerning
                     appearance at court proceedings; and

                     (B) whether, at the time of the current offense
                     or arrest, the person was on probation, on
                     parole, or on other release pending trial,
                     sentencing, appeal, or completion of sentence

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                     for an offense under Federal, State, or local law;
                     and

              (4) the nature and seriousness of the danger to any person
              or the community that would be posed by the person=s
              release.

18 U.S.C. ' 3142(g).

       I find the rebuttable presumption of the Act has been triggered. Weighing the

factors set out in the Bail Reform Act, I find that the defendant has not presented evidence

to rebut the presumption and therefore the presumption stands unrebutted. I therefore

find by a preponderance of the evidence that defendant is a risk of flight and by clear and

convincing evidence that defendant is a danger to the community if released on conditions

of bond.

       IT IS ORDERED that the defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a corrections facility

separate, to the extent practicable, from persons awaiting or serving sentences or being

held in custody pending appeal; and

       IT IS FURTHER ORDERED that the defendant is to be afforded a reasonable

opportunity to consult confidentially with defense counsel; and

       IT IS FURTHER ORDERED that upon order of this Court or on request of an

attorney for the United States, the person in charge of the corrections facility shall deliver

defendant to the United States Marshal for the purpose of an appearance in connection

with this proceeding.




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      DATED: August 25, 2023              BY THE COURT:




                                          Kathryn A. Starnella
                                          United States Magistrate Judge




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